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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                      )      MDL No. 16-2740
PRODUCTS LIABILITY                               )
LITIGATION                                       )      SECTION: “H” (5)
                                                 )
This document relates to:                        )
Elizabeth Kahn, 16-17039                         )

                               ORDER AND REASONS

         Before the Court is Defendants’ Motion to Exclude Expert Testimony of
Dr. Ellen Feigal (Doc. 10931). The Court held oral argument on the Motion on
October 7, 2020. For the following reasons, the Motion is GRANTED IN
PART and DENIED IN PART.


                                    BACKGROUND

         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical        companies      that   manufactured       and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Among these
companies are Defendants sanofi-aventis U.S. LLC and Sanofi U.S. Services
Inc. (collectively, “Sanofi” or “Defendants”). Plaintiffs allege that the drug
caused permanent alopecia—in other words, permanent hair loss. Plaintiffs
bring claims of failure to warn, negligent misrepresentation, fraudulent
misrepresentation, and more. The first bellwether trial was held in September
2019, and the second trial is set for May 24, 2021. 2
         In the instant Motion, Sanofi moves to exclude the testimony of Dr. Ellen
Feigal. Dr. Feigal is an oncologist who has decades of experience with clinical

1   Docetaxel is the generic version of Taxotere.
2   The second trial was continued due to the COVID-19 pandemic.
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trials, pharmacological product development, and pharmacovigilance. Plaintiff
Elizabeth Kahn, the second bellwether plaintiff, plans to call Dr. Feigal as a
witness at trial. Plaintiff Kahn opposes Sanofi’s Motion.



                                    LEGAL STANDARD

       The admissibility of expert testimony is governed by Federal Rule of
Evidence 702, which provides as follows:
       A witness who is qualified as an expert by knowledge, skill,
       experience, training, or education may testify in the form of an
       opinion or otherwise if:
               (a) the expert’s scientific, technical, or other specialized
               knowledge will help the trier of fact to understand the
               evidence or to determine a fact in issue;
               (b) the testimony is based on sufficient facts or data;
               (c) the testimony is the product of reliable principles and
               methods; and
               (d) the expert has reliably applied the principles and
               methods to the facts of the case. 3
       The current version of Rule 702 reflects the Supreme Court’s decisions
in Daubert v. Merrell Dow Pharms., Inc. 4 and Kumho Tire Co. v. Carmichael. 5
The threshold inquiry in determining whether an individual may offer expert
testimony under Rule 702 is whether the individual has the requisite
qualifications. 6 After defining the permissible scope of the expert’s testimony,




3 FED. R. EVID. 702.
4 509 U.S. 579 (1993).
5 526 U.S. 137 (1999).
6 Wagoner v. Exxon Mobil Corp., 813 F. Supp. 2d 771, 799 (E.D. La. 2011). See also Wilson v.

  Woods, 163 F.3d 935, 937 (5th Cir. 1999) (“A district court should refuse to allow an expert
  witness to testify if it finds that the witness is not qualified to testify in a particular field or
  on a given subject.”).

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a court next assesses whether the opinions are reliable and relevant. 7 As the
“gatekeeper” of expert testimony, the trial court enjoys broad discretion in
determining admissibility. 8
       First, to assess reliability, a court considers whether the reasoning or
methodology underlying the expert’s testimony is valid. 9 The party offering the
testimony bears the burden of establishing its reliability by a preponderance
of the evidence. 10 Courts should exclude testimony based merely on subjective
belief or unsupported speculation.          11   Courts must, however, give proper
deference to the traditional adversary system and the role of the jury within
that system. 12 “Vigorous cross-examination, presentation of contrary evidence,
and careful instruction on the burden of proof are the traditional and
appropriate means of attacking shaky but admissible evidence.” 13 After
assessing reliability, a court evaluates relevance. 14 In doing so, a court must
determine whether the expert’s reasoning or methodology “fits” the facts of the
case and will thereby assist the trier of fact in understanding the evidence. 15
       Federal Rule of Evidence 703 further provides that an expert may offer
opinions based on otherwise inadmissible facts or data but only if (1) they are
of the kind reasonably relied upon by experts in the particular field; and (2)
the testimony’s probative value substantially outweighs its prejudicial effect. 16




7 See United States v. Valencia, 600 F.3d 389, 424 (5th Cir. 2010). See also Wellogix, Inc. v.
  Accenture, L.L.P., 716 F.3d 867, 881–82 (5th Cir. 2013).
8 Wellogix, 716 F.3d at 881.
9 See Daubert, 509 U.S. at 592–93.
10 See Moore v. Ashland Chem. Inc., 151 F.3d 269, 276 (5th Cir. 1998).
11 See Daubert, 509 U.S. at 590.
12 See id. at 596.
13 Id.
14 Burst v. Shell Oil Co., 120 F. Supp. 3d 547, 551 (E.D. La. June 9, 2015).
15 Id.
16 FED. R. EVID. 703.

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                               LAW AND ANALYSIS

          Sanofi raises three challenges to Dr. Feigal’s testimony. Specifically,
Sanofi asks the Court to (1) preclude Dr. Feigal’s case-specific opinions; (2)
preclude Dr. Feigal from opining on whether the dissemination of risk
information regarding Taxotere and permanent alopecia was adequate; and (3)
preclude Dr. Feigal from offering a general causation opinion.

     I.   Case-Specific Opinions
          Sanofi asks the Court to preclude Dr. Feigal from offering case-specific
opinions. According to Sanofi, Dr. Feigal should not be allowed to opine on what
a reasonable physician would have done if he or she had known of a risk of
permanent alopecia associated with Taxotere. Sanofi emphasizes that Plaintiff
Kahn’s treating physicians will be available to offer such testimony; they can
testify about whether they would have warned Kahn of such a risk. In
response, Plaintiff avers that Dr. Feigal will not offer any case-specific
opinions. At the same time, though, Plaintiff states that Dr. Feigal intends to
testify “as to what a reasonable physician would do with information regarding
the causative relationship between permanent alopecia and Taxotere.” 17
          Plaintiff appears to ignore this Court’s prior ruling. In the first
bellwether trial, Plaintiff Barbara Earnest wished to have Dr. Feigal testify
about how a reasonable physician should have navigated the decision-making
process with his or her patient. Addressing this argument, the Court issued
this ruling: “Because Plaintiff’s treating physician, Dr. James Carinder, is
available to testify, Dr. Feigal will not be allowed to opine on the facts of
Earnest’s case. Dr. Carinder can testify about how he would have responded to
an adequate warning from Defendants.” 18

17   Doc. 11083 at 4.
18   Doc. 8094 at 18.
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        For the Kahn trial, Dr. Feigal will not be allowed to testify about what a
reasonable physician would have done with a warning about permanent
alopecia. This is thinly veiled case-specific testimony, and it would carry little
relevance. To determine causation, the jury will need to decide whether “a
proper warning would have changed the decision of the treating physician.” 19
The question is not whether a proper warning would have changed the decision
of a third-party physician. Because Drs. Larned and Kardinal will be available
to testify directly on this question, Dr. Feigal’s testimony is not needed.
        As in Earnest, however, Dr. Feigal may testify about the standard of care
for physicians for informing patients through the decision-making process.
This testimony should be the kind of material Dr. Feigal would cover in the
college courses she taught on the topic of informed consent. Also, Dr. Feigal
may testify about the alternative treatments that exist for Taxotere patients.

     II. Opinions on the Dissemination of Risk Information
        Next, Sanofi argues that Dr. Feigal should be precluded from opining on
whether the dissemination of risk information regarding permanent alopecia
and Taxotere was adequate. Sanofi avers that Dr. Feigal offers opinions that
imply that Sanofi provided inadequate warnings about permanent alopecia. In
response, Plaintiff avers, again, that testimony “as to what a reasonable
physician could do with information regarding the causative relationship
between permanent alopecia and Taxotere” is relevant. 20 Plaintiff states that


19 Willett v. Baxter Intern., Inc., 929 F.2d 1094, 1098–99 (5th Cir. 1991). See also Doc. 8201
   at 3 (“To find proximate causation, the jury will have to find that Dr. Carinder’s prescribing
   decision would have changed if he had known of Taxotere’s risk of permanent alopecia.”);
   Doc. 8206 at 4 (“As previously ruled, the jury must decide whether the prescribing decision
   would have changed; this depends on the oncologist’s conversations with Plaintiff and what
   risks Plaintiff was willing to accept.”); Doc. 9300 at 4 (“Considering the evidence, the Court
   finds that there are fact issues for the jury to decide regarding how the conversation
   between Plaintiff and her doctor would have gone if they had known of Taxotere’s risk.”).
20 Doc. 11083 at 6.



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Dr. Feigal “simply offers” this opinion: “Had physicians been informed of the
risk of permanent chemotherapy-induced alopecia, reasonable physicians
would and could have included a discussion of the risk of PCIA in their benefit-
risk interaction with patients about treatment options for their early stage
breast cancer, to allow for more informed decisions.” 21
           For reasons previously stated, Dr. Feigal may not opine on what
reasonable physicians would have done had they been informed of a risk of
permanent alopecia. Also, as Sanofi argues, such testimony necessarily implies
that physicians were not given adequate warnings. Plaintiff seems to agree
that Dr. Feigal should not opine on the adequacy of the Taxotere label, but she
fails to realize that these opinions do in fact relate to the adequacy of the
Taxotere label. As in Earnest, Dr. Feigal may offer general opinions about how
pharmaceutical companies disseminate risk information, but she may not
opine on whether reasonable physicians would have discussed the specific risk
of permanent chemotherapy-induced alopecia (“PCIA”) with their patients.

     III. General Causation Opinion
           Lastly, Sanofi takes issue with Dr. Feigal’s general causation opinion.
Sanofi argues that Dr. Feigal has made slight modifications to her Earnest
report, rendering her general causation opinion unreliable. Specifically, Sanofi
emphasizes that Dr. Feigal has admitted that the drugs Adriamycin and
Cytoxan may cause permanent alopecia. Sanofi notes that in the Taxotere
clinical trials, all participants took a regimen that included these drugs.
Consistent with her admission that it is impossible to count cases of permanent
alopecia caused by Taxotere alone, her report now counts Taxotere/docetaxel
“regimens” as opposed to Taxotere/docetaxel “cases.” In response, Plaintiff
argues that this linguistic change is of no moment.

21   Id.
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         The Court agrees with Plaintiff. In her Earnest report, Dr. Feigal
acknowledged there have been reports of permanent alopecia associated with
other drugs. 22 Nonetheless, she set out a reliable methodology, namely a
Bradford Hill analysis, to support her opinion that Taxotere is the cause of
permanent alopecia even in combination regimens. She has done the same for
Plaintiff Kahn’s trial. The linguistic change that Sanofi highlights appears to
be only an attempt to clarify her opinion. It does not change the substance of
it or detract from its reliability.


                                      CONCLUSION

         For the foregoing reasons, Defendants’ Motion to Exclude Expert
Testimony of Dr. Ellen Feigal (Doc. 10931) is GRANTED IN PART and
DENIED IN PART. Dr. Feigal’s testimony will be limited as described in this
opinion.
         New Orleans, Louisiana, this 12th day of January, 2021.




                                                JANE TRICHE MILAZZO
                                                UNITED STATES DISTRICT JUDGE




22   Doc. 6149-6 at 37 (discussing TAX 316) (“At the end of the 10-year follow up period, PCIA
     was seen in 3.9% (n=29) of patients on the Taxotere-containing regimen (TAC) and in 2.2%
     (n=16) on the control (FAC).”); id. at 38 (discussing GEICAM 9805) (“3 of the 49 patients
     on TAC had ongoing PCIA, with 1 of 35 patients on FAC”); id. at 45–46 (discussing Kang
     study) (“Patients received Taxotere/docetaxel-based regimens or anthracycline and
     cyclophosphamide-based regimens without Taxotere/docetaxel. . . . Patients with
     Taxotere/docetaxel-based regimens had about 8 times higher odds of PCIA 3 years after
     completion of chemotherapy.”).
                                                  7
